              Case 2:15-cr-00611-SVW Document 280 Filed 09/20/17 Page 1 of 5 Page ID #:4015

                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            2:15-cr-00611-SVW

 Defendant           Melissa Morton                                          Social Security No. 0         0   8     7
 akas:   Melissa Ann Thomson                                                 (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.         09     18      2017

  COUNSEL                                                             Angel Navarro, appointed
                                                                            (Name of Counsel)

    PLEA               GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Conspiracy to Defraud the United States in violation of 18 U.S.C. § 371 as charged in Count 1; False Claims to the
          United States; Causing an Act to be Done in violation 18 U.S.C. § 287 and 18 U.S.C. § 2(b) as charged in Counts 4& 5;
          and Fictitious Obligations; Causing an Act to be Done in violation of 18 U.S.C. § 514(a), and 18 U.S.C. § 2(b) as
          charged in Counts 8, 33-56 of the First Superseding Indictment
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:


         TWENTY-FOUR (24) MONTHS

        This term consists of 24 months on each of Counts 8 and 33 through 56, and 24 months on each of counts 1, 4 and 5, of the First
Superseding Indictment, all to be served concurrently.

         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five years. This term consists of 5
years on each of Counts 8 and 33 through 56 and 3 years on each of Counts 1, 4, and 5, of the First Superseding Indictment, all such terms to
run concurrently, under the following terms and conditions:

         1.          The defendant shall comply with the rules and regulations of the United States Probation Office, General Order 05-02.

         2.          The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered financial obligation.
                     In addition, the defendant shall apply all monies received from lottery winnings, inheritance, judgments and any anticipated
                     or unexpected financial gains to the outstanding Court-ordered financial obligation.

         3.          The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business involving the sale of
                     financial instruments or providing debt relief services without the express approval of the Probation Officer prior to engaging
                     in such employment. Further, the defendant shall provide the Probation Officer with access to any and all business records,
                     client lists, and other records pertaining to the operation of any business owned, in whole or in part, by the defendant, as
                     directed by the Probation Officer.

         4.          The defendant shall cooperate in the collection of a DNA sample from the defendant.

         It is ordered that the defendant shall pay to the United States a special assessment of $2,800, which is due immediately.

         It is ordered that the defendant shall pay restitution in the total amount of $480,322.55 pursuant to 18 U.S.C. § 3663A.



CR-104 (wpd 10/15)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 1 of 5
Case 2:15-cr-00611-SVW Document 280 Filed 09/20/17 Page 2 of 5 Page ID #:4016
             Case 2:15-cr-00611-SVW Document 280 Filed 09/20/17 Page 3 of 5 Page ID #:4017

 USA vs.     Melissa Morton                                                        Docket No.:        2:15-cr-00611-SVW


 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




CR-104 (wpd 10/15)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 3 of 5
             Case 2:15-cr-00611-SVW Document 280 Filed 09/20/17 Page 4 of 5 Page ID #:4018

 USA vs.     Melissa Morton                                                      Docket No.:      2:15-cr-00611-SVW


             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).
       X

                 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                        Page 4 of 5
             Case 2:15-cr-00611-SVW Document 280 Filed 09/20/17 Page 5 of 5 Page ID #:4019


                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 5
